Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 1 of 16

EXHIBIT G

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 2 of 16

1059
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
IN RE: PHARMACEUTICAL

MDL NO. 1456

INDUSTRY AVERAGE WHOLESALE CIVIL ACTION

PRICE LITIGATION 01-CV-12257-PBS

eee ee eee HX
THIS DOCUMENT RELATES TO:
U.S. ex rel. Ven-a-Care of Hon. Patti B. Saris
the Florida Keys, Inc.
Vv.
Dey, Inc., et al.
No. 05-11084-PBS
eee ee ee ee x

(CROSS NOTICED CAPTIONS ON FOLLOWING PAGES)

CONTINUED DEPOSITION OF T. MARK JONES

Washington, D.C.
Tuesday, December 9, 2008
VOLUME IV
Jones, T. Mark - Vol. IV 12-9-2008

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 3 of 16

1143
A. Oh, what I was saying was, Roxane
didn't price their generic higher than BI's
brand, because that -- I'm just saying that was
one of the things we had focused on, was watching
the evolution of brands losing their patents and
the generic market coming in, and utilization
issues, pricing issues; that -- that sort of
stuff. And so Roxane's drug fell right in the

middle of that --

Q. Is it fair --
A. -- mess.
Q. Is it fair to say that -- that

Ipratropium Bromide was one of those drugs that
Ven-A-Care was focused on fairly early in its
investigation? And the reason I ask that is,
because as I looked at your document production,
I saw charts with respect to inhalation drugs,
and in particular, Ipratropium Bromide, as well
as Albuterol, that seemed to be tracking payments
and prices from 1995 or 1996 onward.

A. I -- I think we -- we -- obviously,

because it was an inhalation drug, it was, you

Jones, T. Mark - Vol. IV 12-9-2008

21

22

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 4 of 16

1144
know, in that mix with Albuterols and cromolyns
and all of that. So we did have pricing
information on it early on. But Atrovent didn't
come off of patent till '96, so we really didn't
start seeing a whole lot of change in the
marketplace until '97, '98 and '99.

And I think that's what our chart
reflects, yes. We had prices early on for
Ipratropium, but we didn't really see the
blooming of the spread until later on in the late
‘90s.

Q. And do you recall that when Atrovent
came off patent, it was approximately mid 1996?
Does that sound right to you?

A. I believe you. I think that's
somewhere around there.

Q. And for a period of time, based on your
investigations, did you conclude that Dey and
Roxane were the two sole manufacturers of the
generic of Ipratropium Bromide for a period of
time, from '96 until the late '90s?

A. I think what we saw were Dey and Roxane

Jones, T. Mark - Vol. IV 12-9-2008

21

22

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 5 of 16

1233
BY MR. GORTNER:

Q. No. I under -- I understand that. And
let me -- I'll certainly -- let me include that
in the question as well, is that aside from
Roxane's statements in congressional hearings and
the documents and testimony provided in
litigation involving Roxane, did Ven-A-Care have
any other source of information with respect to
what Roxane's sales forces were telling customers
regarding the spread?

MR. BREEN: Objection. Form.

THE WITNESS: Well, I mean, the only
way I could reduce it down and feel totally
comfortable with this -- with this yes-or-no
answer is, if I was able to say, "Look. We -- we
were GPO customers. GPOs frequently represented
Roxane's prices, just like they represented
Warrick's or Dey's or Abbott's.

And when they represented them, they
often would give you the price. They'd give you
the spread amount. So that's, to me, marketing

the spread. That's something that a sales force

Jones, T. Mark - Vol. IV 12-9-2008

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 6 of 16

1234
person would do or be in charge of. Was it --
was it someone personal doing it? No. But it
was the GPO marketing spread with Roxane product.
BY MR. GORTNER:

Q. Okay. So you're referring to this --
this -- the category you're distinguishing are --
are communications from GPOs, for instance, to --
to Ven-A-Care?

A. Right. Because you're trying to --
what you're doing is, you're asking me to
distinguish marketing and -- and sales reps and

what they do and what they say.

Q. Well, let me just take a step back.
Are you -- I am trying to refer to
individuals that you -- that we could agree on

that were Roxane employees versus employees of a
GPO, okay? Can we make that distinction?

A. Yes.

Q. Okay. So my question here is that what
you're referring to in this case were situations
where GPO employees have communications with Ven-

A-Care. Okay. Sticking with that particular

Jones, T. Mark - Vol. IV 12-9-2008

21

22

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 7 of 16

1255
MR. BREEN: You mean -- when you say
"that allegation," can you -- to be real clear on
the record --
THE WITNESS: Number 63.
MR. BREEN: -- do you mean --
MR. GORTNER: The employees at BIPI in
concert with the employees of Roxane.
MR. BREEN: Okay.
BY MR. GORTNER:

Q. And I understand what your testimony
earlier was saying, is that -- is that Ven-A-Care
had the ability to see the published AWPs, for
certain Roxane products, in compendia, like Red
Book, for instance, and then through information
sources like the McKesson, Econolink or GPOs, or
other wholesalers, you could see the prices that
-- that were -- were there and could calculate
the difference between the two. That -- that's
something that Ven-A-Care was doing or was able
to do. Is that fair to say?

A. It's something Ven-A-Care did all the

time.

Jones, T. Mark - Vol. IV 12-9-2008

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 8 of 16

1256

Q. Okay. And from -- and from those two
pieces of information, the published AWP and the
-- the price that was offered by the particular
GPO or the wholesaler, when there was a spread,
Ven-A-Care would make the inference that Roxane
was purposely creating that spread. Is that a
fair statement?

A. Well, yeah. I mean, purposely in that
they are in control of their prices, and they're
the ones that submitted the prices to the
compendia.

Whether they submitted an AWP and a
WAC, or a WAC that was calculated to be in an
AWP, it was theirs. They owned it. It was their
responsibility.

Q. But that goes back to my earlier
question that Ven-A-Care didn't have a contact or
a source that worked within Roxane, so you had to

make inferences about --

A. Correct.
Q. -- what Roxane was intending to do?
A. Yeah. I'll agree with that.

Jones, T. Mark - Vol. IV 12-9-2008

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 9 of 16

1257
Q. Okay. I'm going to ask you a few
questions about disclosure statements.

Is it correct that at each point prior
or contemporaneous with filing a qui tam
complaint in this case, that Ven-A-Care submitted
what we've been referring to as a disclosure
statement or amendments to the disclosure
statement related to those particular complaints?

A. Ven-A-Care was in the habit of
submitting disclosure statements. It was also in
the habit of submitting just disclosures all the
time.

You know, whenever it found drugs that
it was interested in, using an amendment,
whenever it found any kind of information that
was appropriate to a particular case that was
maybe going to be amended, we would always give
it to someone in that, you know, either the DOJ,
the U.S. attorney, the OIG.

Q. Okay. Well, let's -- let's tick
through some of the disclosure statements. And

I'll represent to you that on the privilege log

Jones, T. Mark - Vol. IV 12-9-2008

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 10 of 16

produced by Ven-A-Care, and perhaps in an
interrogatory response, Ven-A-Care has identified
that it, at points just before or at the time
they filed the amended complaints, that they were
submitting disclosure statements from them as to
the federal government. Okay?

What I wanted to ask you first is in
regard to the first disclosure statement. What -
- what was sent with relationship to the April
2000 complaint that's been marked previously as
Roxane 90?

Can you tell me what specific facts
Ven-A-Care disclosed to the government about
Roxane specifically, and in particular, Roxane's
sales prices on its drugs?

A. Well, what I would immediately be able
to say is, that we disclosed all of our price and
cost lists. You know, all of our GPO prices, all
our wholesale prices, any specialty wholesaler
prices, any -- any fliers that we had that may
represent, you know, any kind of marketing of

Roxane drugs.

1258

Jones, T. Mark - Vol. IV 12-9-2008

21

22

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 11 of 16

1259
Let's see. If we had done any kind of
a corporate search, you know, any kind of a
relationship search, we would have submitted
that.

Q. Well, let's stick with Roxane's prices
for its drugs --

A. Uh-huh.

Q. -- in the marketplace, which, in the
instance of Ven-A-Care, would -- would refer to
prices that were offered by either group
purchasing organizations like ServAll or
Innovatix --

A. Uh-huh.

Q. -- or wholesalers like McKesson or

A. Uh-huh.

Q. Given that that was Ven-A-Care's source
for prices, what specific prices were provided to
the government on or before April 10th, 2000 in
that disclosure statement?

A. (No audible response.)

MR. BREEN: Can I make a suggestion?

Jones, T. Mark - Vol. IV 12-9-2008

21

22

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 12 of 16

1294
by looking at the documents, it appears that
throughout -- throughout the '90s, that Ven-A-
Care was routinely sending faxes of pricing
information, or issues like press releases, to
Mr. Stephens. Is that consistent with your
understanding?

A. I think that would be a fair
characterization.

Q. And I believe you testified yesterday
that Representative Pete Stark first had contact
with Ven-A-Care regarding some earlier litigation
that you had?

A. The Immune Care joint venture, which
was reflective of the split fee kickback
arrangements that Pete Stark's litigation -- I
mean, his legislation was trying to prevent in
health care.

Q. And how did the transition occur that
Ven-A-Care continued to send Representative Pete
Stark information on published AWP and actual
transactional prices throughout the '90s? How

did that occur?

Jones, T. Mark - Vol. IV 12-9-2008

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 13 of 16

A. He just became the person in Congress
that we could talk to about those types of
issues. And he was interested. I mean, he was -
- I don't know -- the chief health care
congressman, and, I mean, in the U.S. Congress,
he was the one that was the most vocal about
health care.

Q. Okay.

A. And he actually became an ear for us
when we were trying to figure out the different
type -- we learned a lot about reimbursement from
him, and, you know, how things were paid, what

the legislative actions were.

Q. Right.
A. So --
Q. And I also saw correspondence, in your

production, where it appeared that Representative
Stark, at various times, was trying to set up
meetings with -- with Ven-A-Care principals and
individuals like the HCFA administrator, Min
DeParle, or the -- you know, heads of the Office

of Inspector General.

1295

Jones, T. Mark - Vol. IV 12-9-2008

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 14 of 16

A. He actually facilitated meetings for
us.

Q. And the purpose of those meetings were
so that you could educate individuals like Nancy-
Ann Min De Parle of your allegations that there
was a widespread fraud on AWP and WAC pricing?

A. Correct.

Q. And did you keep Representative Stark
informed, throughout your investigative process,
to the best of your ability, in terms of what
your investigation was revealing?

MR. BREEN: Objection. Form.

THE WITNESS: Well, I mean, this is a
good example. When you see the two charts that
we -- that we did here, I mean, one is -- one was
the issue that we thought was an interesting
issue, where, you know, the 20 percent co-pay,
the payment exceeds the total cost of the drug,
and then the Ipratropium Bromide chart with
utilization spike. Now, I think -- I think we
kept him informed, or, you know, Zachary did for

sure.

1296

Jones, T. Mark - Vol. IV 12-9-2008

21

22

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 15 of 16

1297
MR. BREEN: You're referring to Exhibit
207 again? Exhibit 207?
THE WITNESS: Yeah.
BY MR. GORTNER:

Q. Yeah. Let's go into Roxane Exhibit
207. But before I go one step further, what was
Ven-A-Care's understanding of Representative
Stark's interest in the health care area? You
mentioned that he was the chief. I wasn't sure I
understood your answer.

A. He was the chairman of the health --
Subcommittee on Health, I believe, in the Ways
and Means Committee. So, you know, he had an
interest in anything that had to do with health
care. And especially when it came to Medicare or
Medicare Medicaid.

Q. Did Ven-A-Care believe that
Representative Stark had a voice in the policy
that congress could follow?

A. I think Ven-A-Care believed that he had
some ability to express his voice. Whether he

had an actual voice in -- in making policy

Jones, T. Mark - Vol. IV 12-9-2008

21

22

Case 1:01-cv-12257-PBS Document 6639-8 Filed 11/03/09 Page 16 of 16

1298

happen, we never really -- really -- I mean, we
never got that far with that relationship.

Q. Now, let's take a look within Roxane
207 at the --

A. Okay.

Q. -- at the press release. And in
particular, let's look on -- on the page Bates
labeled VAC MDL 44997, at the very bottom of that

first page of the September 3rd, 1999 press

release.
A. Where are we?
Q. I'm on VAC MDL 44997.
A. And this is Roxane 207?
Q. I believe so. Are we missing -- let me

look at your copy.

A. Your MDL isn't matching up. You can
look at it.
Q. Let me see. Well, we have the same

document. You have a slightly Bates label. Let
me refer to it in terms of the one that's on your
copy, which is VAC MDL 84333. But it's the

September 3rd, 1999 press release.

Jones, T. Mark - Vol. IV 12-9-2008

